                         Case 3:24-mj-04564-RFC Document 1 Filed 11/04/24 Page 1 of 2
1AO 442 (REV. 12/85)


                                                United States District Court                                                FILED

                                                       Western District of Texas                                          Nov 4 2024

                                                          El Paso Division                                         Clerk, U.S. District Court
                                                                                                                   Western District of Texas

                                                                                                             By:           mvm
                                                                                                                                       Deputy
USA                                                                      §
                                                                         § CRIMINAL COMPLAINT
vs.                                                                      § CASE NUMBER: EP:24-M -04564(1) RFC
                                                                         §
(1) ANTONIO MOHAMED PEREZ LLANES                                         §

                  I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and

belief. On or about November 02, 2024 in El Paso county, in the WESTERN DISTRICT OF TEXAS defendant did, being an alien to

the United States, enter, attempt to enter, or was found in the United States after having been previously excluded, deported, or

removed from the United States without receiving permission to reapply for admission to the United States from the Attorney General

of the United States and the Secretary of Homeland Security, the successor pursuant to Title 6, United States Code, Sections 202(3),

202(4), and 557



in violation of Title                  8                  United States Code, Section(s)         1326



                  I further state that I am a Border Patrol Agent and that this complaint is based on the following facts: " On November

2, 2024, the DEFENDANT, Antonio Mohamed PEREZ LLANES, an alien to the United States and a citizen of Mexico was found

in the Western District of Texas near the intersection of Boone St. and Rosa Ave. in El Paso, Texas. From "

Continued on the attached sheet and made a part of hereof.



Sworn to before me and subscribed in my presence,                                          /s/ Miller, Matthew
                                                                                           Signature of Complainant
                                                                                           Border Patrol Agent


November 4, 2024                                                                     at EL PASO, Texas
File Date                                                                               City and State




ROBERT F. CASTANEDA                                                                        ______________________________
UNITED STATES MAGISTRATE JUDGE                                                             Signature of Judicial Officer
                                                                                                     OATH TELEPHONICALLY SWORN
                                                                                                     AT 1:02 P.M.
                                                                                                     FED.R.CRIM.P.4.1(b)(2)(A)
                 Case 3:24-mj-04564-RFC Document 1 Filed 11/04/24 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:24-M -04564(1)

WESTERN DISTRICT OF TEXAS

(1) ANTONIO MOHAMED PEREZ LLANES

FACTS (CONTINUED)

statements made by the DEFENDANT to the arresting agent, the DEFENDANT was determined to be a native and
citizen of Mexico, without immigration documents allowing him to be or remain in the United States legally. The
DEFENDANT has been previously removed from the United States to Mexico on September 20, 2019, through Del
Rio, Texas. The DEFENDANT has not previously received the expressed consent from the Attorney General of
the United States or the Secretary of Homeland Security to reapply for admission into the United States.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:

The DEFENDANT has been REMOVED 1 time(s), the last one being to MEXICO on September 20, 2024, through
DEL RIO, TX.

CRIMINAL HISTORY:

08/27/2018, ANTHONY, NM, 21 USC 841(b)(1)(a) and 21 USC 846 POSSESSION W INTENT TO DISTRIBUTE AND
CONSPIRACY(F), CNV, 15 MO JAIL.
